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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

PUBLIC EMPLOYEES FOR
ENVIRONMENTAL RESPONSIBILITY,
962 Wayne Ave., Suite 610
Silver Spring, MD 20910
                                                  CIVIL ACTION NO. 24-1519
        Plaintiff,
v.                                                COMPLAINT

BUREAU OF LAND MANAGEMENT
1849 C St., NW
Washington, DC 20240

        Defendant.



                                 PRELIMINARY STATEMENT

1. Public Employees for Environmental Responsibility (“Plaintiff” or “PEER”) brings this action

     under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, et seq., as amended, to

     compel the United States Department of the Interior’s Bureau of Land Management (“BLM”)

     to disclose records that PEER requested pursuant to FOIA that are now between three months

     and ten months overdue for a determination of whether to comply with the request and the

     reasons therefore. BLM has neither made a determination nor produced any records responsive

     to this request.

2. In 2023 and 2024, PEER submitted the FOIA requests described below to BLM for records

     regarding annual statistics, namely:

             a. Law Enforcement Staffing Calendar Year (“CY”) 2022: PEER submitted a

                 FOIA request on June 20, 2023, for the number of current commissioned law

                 enforcement rangers and special agents, respectively, both permanent and seasonal


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      from January 1, 2022 – December 31, 2022. The request was assigned tracking

      number DOI-BLM-2023-005165. BLM has failed to produce a determination or

      any records with respect to this request.

   b. Law Enforcement Staffing CY 2023: PEER submitted a FOIA request on January

      11, 2024, for the number of current commissioned law enforcement rangers and

      special agents, respectively, both permanent and seasonal from January 1, 2023 –

      December 31, 2023. The request was assigned tracking number DOI-BLM-2024-

      000266. BLM has failed to produce a determination or any records with respect to

      this request.

   c. Assaults Against Employees CY 2023: PEER submitted a FOIA request on

      January 11, 2024, for a summary of all incidents of violence, threats, or harassment

      against BLM employees that occurred in CY 2023. The request was assigned

      tracking number DOI-BLM-2024-000265. BLM has failed to produce a

      determination or any records with respect to this request.

   d. Search and Rescue Operations Fiscal Year (“FY”) 2023: PEER submitted a

      FOIA request on January 16, 2024, for an annual (by fiscal year) breakdown of the

      number of search and rescue operations or other events requiring a special

      deployment of law enforcement resources on or adjoining BLM lands, divided by

      state. The request was assigned tracking number DOI-BLM-2024-000271. BLM

      has failed to produce a determination or any records with respect to this request.

   e. Annual Crime Reports to the Department of Justice (“DOJ”): PEER submitted

      a FOIA request on January 18, 2024, for all Uniform Crime Reporting (UCR)

      Program reports made to the Department of Justice, Federal Bureau of Investigation,


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                or any state UCR program made from March 18, 2022, until January 18, 2024. The

                request was assigned tracking number DOI-BLM-2024-000280. BLM has failed to

                produce a determination or any records with respect to this request.

3. To date, Defendant has failed to make a final determination on PEER’s FOIA requests and has

     failed to disclose all of the requested records within the time stipulated under FOIA.


                                 JURISDICTION AND VENUE

4.   This Court has jurisdiction over this action under 5 U.S.C. § 552(a)(4)(B). This Court also

     has federal question jurisdiction over this action under 28 U.S.C. § 1331.

5.   This Court is a proper venue under 5 U.S.C. § 552(a)(4)(B) (providing for venue in FOIA

     cases where the plaintiff resides, or in the District of Columbia).

6.   This Court has the authority to award reasonable costs and attorneys’ fees under 5 U.S.C.

     § 552(a)(4)(E).


                                             PARTIES

7.   Plaintiff PEER is a non-profit public interest organization incorporated in Washington, D.C.,

     and headquartered in Silver Spring, Maryland, with field offices in California, Colorado, and

     Massachusetts.

8.   Among other public interest projects, PEER engages in advocacy, research, education, and

     litigation relating to the promotion of public understanding and debate concerning key current

     public policy issues. PEER focuses on the environment, including public lands and natural

     resource management, the regulation and remediation of toxic substances, public funding of

     environmental and natural resource agencies, and government accountability. PEER educates

     and informs the public through news releases to the media, through its web site, www.peer.org,

     and through publication of the PEEReview newsletter.
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9.   Defendant BLM is an agency of the United States as defined by 5 U.S.C. § 552(f)(1).

10. BLM is charged with the duty to provide public access to records in its possession consistent

     with the requirements of FOIA. The failure of BLM to provide PEER with the records

     requested and its failure to make a final determination on PEER’s various FOIA requests

     within 20 working days are violations of FOIA.


                                  STATEMENT OF FACTS



Law Enforcement Staffing CY 2022
11. On June 20, 2023, PEER submitted a FOIA request seeking the following:

            a. The number of current commissioned law enforcement rangers and special agents,

               respectively, both permanent and seasonal from January 1, 2022 – December 31,

               2022.

12. On June 20, 2023, the request submission was acknowledged and assigned tracking number

     DOI-BLM-2023-005165.

13. On August 24, 2023, PEER sent an email to BLM, requesting an update on the FOIA request.

14. On August 25, 2023, PEER received an email saying that its previous message failed to send.

15. On August 28, 2023, PEER sent an email to Ryan Witt, BLM’s National FOIA Officer,

     requesting an update on the FOIA request. PEER received no response.

16. On April 18, 2024, PEER sent another email to Mr. Witt, requesting an update on the FOIA

     request. PEER received no response.

17. On May 8, 2024, PEER sent another email to Mr. Witt, requesting an update on the FOIA

     request. PEER received no response.




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18. On May 14, 2024, PEER sent an email to both Mr. Witt and BLM’s Washington Office stating

   its intention to file a FOIA complaint.

19. Later that day, BLM responded, stating that it had a backlog of requests and asked that we

   prioritize our requests or enquire again in 30-60 days.

20. To date, PEER has not received a determination or any records related to this request.



Law Enforcement Staffing CY 2023
21. On January 11, 2024, PEER submitted a FOIA request seeking the following:

           a. The number of current commissioned law enforcement rangers and special agents,

               respectively, both permanent and seasonal from January 1, 2023 – December 31,

               2023.

22. Later that same day, PEER received a message stating that the request submission was

   "Received” and assigned tracking number DOI-BLM-2024-000266.

23. On January 16, 2024, PEER received a message stating that the request was “Assigned for

   Processing.”

24. On April 19, 2024, PEER received an Acknowledgement Letter from BLM, stating that the

   request was on the “Complex” track.

25. On May 14, 2024, PEER sent an email to both Mr. Witt and BLM’s Washington Office stating

   its intention to file a FOIA complaint.

26. Later that day, BLM responded, stating that it had a backlog of requests and asked that we

   prioritize our requests or enquire again in 30-60 days.

27. To date, PEER has not received a determination or any records related to this request.




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Assaults Against Employees CY 2023
28. On January 11, 2024, PEER submitted a FOIA request seeking the following:

           a. A summary of all incidents of violence, threats, or harassment against BLM

               employees that occurred in calendar year 2023. The summary should include the

               date, location, and nature of the incident or threat together with a summary of what,

               if any, outcomes stemmed from the incident or threat (e.g., arrest, conviction,

               ongoing investigation).

29. Later that same day, PEER received a message stating that the request submission was

   "Received” and assigned tracking number DOI-BLM-2024-000265.

30. On January 16, 2024, PEER received a message stating that the request was “Assigned for

   Processing.”

31. On May 14, 2024, PEER sent an email to both Mr. Witt and BLM’s Washington Office stating

   its intention to file a FOIA complaint.

32. Later that day, BLM responded, stating that it had a backlog of requests and asked that we

   prioritize our requests or enquire again in 30-60 days.

33. To date, PEER has not received a determination or any records related to this request.



Search and Rescue Operations FY 2022-23
34. On January 16, 2024, PEER submitted a FOIA request seeking the following:

           a. An annual (by fiscal year) breakdown of the number of search and rescue operations

               or other events requiring a special deployment of law enforcement resources on or

               adjoining BLM lands, divided by state. We seek this annual breakdown for the

               period spanning FY 2022 through FY 2023.




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35. Later that same day, PEER received a message stating that the request submission was

   "Received,” “Assigned for Processing,” and assigned tracking number DOI-BLM-2024-

   000271.

36. On May 14, 2024, PEER sent an email to both Mr. Witt and BLM’s Washington Office stating

   its intention to file a FOIA complaint.

37. Later that day, BLM responded, stating that it had a backlog of requests and asked that we

   prioritize our requests or enquire again in 30-60 days.

38. To date, PEER has not received a determination or any records related to this request.



Annual Crime Reports to DOJ

39. On January 18, 2024, PEER submitted a FOIA request seeking the following:

           a. All Uniform Crime Reporting (UCR) Program reports made to the Department of

               Justice, Federal Bureau of Investigation, or any state UCR program. We seek all

               reports made from March 18, 2022, until the date of this request.

40. Later that same day, PEER received a message stating that the request submission was

   "Received,” “Assigned for Processing,” and assigned tracking number DOI-BLM-2024-

   000280.

41. On May 14, 2024, PEER sent an email to both Mr. Witt and BLM’s Washington Office stating

   its intention to file a FOIA complaint.

42. Later that day, BLM responded, stating that it had a backlog of requests and asked that we

   prioritize our requests or enquire again in 30-60 days.

43. To date, PEER has not received any records related to this request.




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                                      CAUSE OF ACTION

44. Plaintiff incorporates the allegations in the preceding paragraphs as though fully set forth

    herein.

45. FOIA requires federal agencies to respond to public requests for records, including files

    maintained electronically, to increase public understanding of the workings of government

    and to provide access to government information. FOIA reflects a “profound national

    commitment to ensuring an open Government” and agencies must “adopt a presumption in

    favor of disclosure.” Presidential Mem., 74 Fed. Reg. 4683 (Jan. 21, 2009).

46. FOIA requires agencies to determine within twenty working days after the receipt of any

    FOIA request whether to comply with the request. 5 U.S.C. § 552(a)(6)(A)(i). Agencies may

    only extend this time period for an additional ten working days in “unusual circumstances.”

    5 U.S.C. § 552(a)(6)(B)(i). FOIA also provides that upon request, agencies are to make

    records “promptly available.” 5 U.S.C. § 552(a)(3)(A).

47. Twenty working days from PEER’s requests are as follows:

   •   Law Enforcement Staffing CY 2022 request of June 20, 2023 (DOI-BLM-2023-005165):

       July 18, 2023

   •   Law Enforcement Staffing CY 2023 request of January 11, 2024 (DOI-BLM-2024-

       000266): February 8, 2024

   •   Assaults Against Employees CY 2023 request of January 11, 2024 (DOI-BLM-2024-

       000265): February 8, 2024

   •   Search and Rescue Operations FY 2022-23 request of January 16, 2024 (DOI-BLM-2024-

       000271): February 13, 2024




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   •   Annual Crime Reports to DOJ request of January 18, 2024 (DOI-BLM-2024-000280):

       February 15, 2024

48. At no time has BLM claimed that “unusual circumstances” warrant the ten-working-day

    extension available under 5 U.S.C. § 552(a)(6)(B)(i). Regardless, an extension of ten-

    working-days on these requests would have been August 1, 2023, February 22, 2024,

    February 22, 2024, February 27, 2024, and February 29, 2024, respectively.

49. As of the date of this filing, PEER has not received a final determination on its FOIA requests

    and BLM has not made the records “promptly available.” BLM’s responses to the FOIA

    requests described above are now between three months and ten months overdue for a

    determination and “prompt” release of the records.

50. Administrative remedies are deemed exhausted when an agency fails to comply with the

    applicable time limits. 5 U.S.C. § 552(a)(6)(C)(i). Having exhausted its administrative

    remedies for the FOIA requests described in this complaint, PEER now turns to this Court to

    enforce the remedies and public access to agency records guaranteed by FOIA.

51. Defendant’s conduct amounts to a denial of PEER’s FOIA requests. BLM is frustrating

    PEER’s efforts to adequately understand how BLM manages its resources and operations.

52. Plaintiff has constructively exhausted its administrative remedies under 5 U.S.C.

    § 552(a)(6)(C)(i), and now seeks an order from this Court requiring the BLM to immediately

    make determinations and produce the records sought in PEER’s FOIA request, as well as

    other appropriate relief, including attorneys’ fees and costs.

53. Defendant’s failure to make determinations on or disclose the documents requested in

    Plaintiff’s FOIA request within the time frame mandated under FOIA is a denial and wrongful

    withholding of records in violation of 5 U.S.C. § 552.


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                                     RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court:

  i.   Enter an order declaring that Defendant wrongfully withheld requested agency documents;

 ii.   Issue a permanent injunction directing Defendant to disclose to Plaintiff all wrongfully

       withheld documents;

iii.   Maintain jurisdiction over this action until Defendant is in compliance with the FOIA and

       every order of this Court;

 iv.   Award Plaintiff attorneys’ fees and costs pursuant to 5 U.S.C. § 552(a)(4)(E); and

 v.    Grant such additional and further relief to which Plaintiff may be entitled.



                               Respectfully submitted on May 22, 2024,


                                             __/s/ Colleen E. Teubner_________
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                                             Public Employees for Environmental
                                             Responsibility
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